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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

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UNITED STATES OF AMERICA,
v. ORDER
PEDRO RAINEY, S120 CR 444-2 (VB)
Defendant. :
7 x

 

 

For the reasons stated on the record at today’s conference, defendant Pedro Rainey’s
pretrial motions (Doc. #118) were granted in part and denied in part.

All the dates and deadlines set forth in the Court’s Order dated October 21, 2021 (Doc.
#131) remain in effect.

The Clerk is instructed to terminate the motion. (Doc. #118).

Dated: November 3, 2021 .
' White Plains, NY , \ ORDERED:

 

Vincent L. Briccetti
United States District Judge
